                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TENNESSEE                        !IPR 11 ZD2Z
                           AT KNOXVILLE
                                                                    _ Clerk, U.S. District Court
                                                                    Eastern District of Tennessee
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                                                         ~J :Af-(_)/- ~d-+
    ERIK COOPER                             )
                                            )     No.
          Plaintiff,                        )
                                            )           0 Yl<U / rv)cCoo-k
    v.                                      )
                                            )
    BLUM COLLINS, LLP,                      )
    STEVEN AARON BLUM, and                  )
    CRAIG MICHAEL COLLINS,                  )
                                            )
          Defendants.                       )



                                    COMPLAINT


          Plaintiff, Erik Cooper, brings this action against the Defendants,

    Blum Collins, LLP ("Blum Collins"), Steven Aaron Blum ("Blum"),

    and Craig Michael Collins ("Collins") (collectively, "Defendants").

    For his claims, Plaintiff would state as follows:

                           I.     NATURE OF ACTION

          1.     This action involves the concerted efforts of a boutique

    California law firm and two of its partners to deprive Plaintiff, Erik Cooper

    ("Cooper"), a court-qualified risk management and insurance expert and

    litigation consultant, of his lawful payment due for services rendered and




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    expenses incurred while providing services requested, directed and

    supervised by the collective Defendants.

          2.     Cooper has been employed m the risk management and

    insurance industry for more than 30 years. Cooper has served clients in both

    litigated and non-litigated commercial property and casualty insurance

    matters. Cooper has also served clients as a litigation consultant in complex

    mass tort civil litigation matters.     Cooper is the owner and operator of

    Acuity Consulting Services ("Acuity"), a private risk management and

    litigation consulting practice.

          3.     In December 2018, Cooper met with Blum and Collins at

    their request to solicit Cooper's expertise and assistance with a mass tort

    civil litigation matter.    Cooper later phoned Blum and Collins from

    Cooper's Sevier County, Tennessee office and reached a verbal agreement

    with Blum and Collins for Cooper to provide the Defendants, individually

    and collectively, their business affiliates, their clients and their potential

    clients consulting services in two general categories: claims consulting

    and litigation consulting. The parties' agreement provided for Cooper to

    receive compensation at a rate of $700.00 per hour for these services,

    and reimbursement of Cooper's expenses incurred for or on behalf of the

    Defendants, their business affiliates, their clients and their potential clients.



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          4.    During the period beginning on January 1, 2019 and ending on

    August 1, 2019, Cooper relied upon the parties' verbal agreement and began

    providing claims consulting and litigation consulting services for the

    Defendants as requested, directed and supervised by Blum and Collins.

    Cooper's professional services included, among other services, Cooper

    representing the Defendants as their third-party consultant engaged by the

    Defendants to investigate and document the Defendants' clients' losses,

    to calculate the Defendants' clients' damages, and to advise the Defendants,

    their employees and their business partners, among other services. Cooper

    incurred expenses while providing these services requested, directed and

    supervised by the Defendants and their employees.         Cooper regularly

    engaged with Blum, Collins, Blum Collins' employees, Defendants'

    colleagues and affiliates, and the Defendants' clients and potential clients

    without interruption for a period of seven months.

          5.    After engaging Cooper to provide claims consulting and

    litigation consulting services, Blum, Collins and Blum Collins requested

    Cooper expand his work to include a third category of services: marketing.

    The Defendants desired to increase the number of plaintiffs the Defendants

    represented in a mass tort civil litigation matter to compete with other

    lawyers and law firms for appointment by the court as "lead counsel."



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    These marketing services included, without limitation, client sourcmg,

    promotion of the Defendants to potential clients and business partners,

    seeking advertising and promotional opportunities, and production of media

    stories requested, orchestrated and directed by Blum and Collins and

    published by The Local Malibu. The Defendants acquired clients from these

    services.   For Cooper's marketing services, Cooper and the Defendants

    verbally agreed to compensate Cooper at the same rate of $700.00 per hour,

    however, Cooper's compensation for marketing services rendered was

    subject to a contingency that Cooper's total fees not exceed ten percent

    (10%) of Blum Collins' attorneys' fees earned from clients referred to the

    Defendants by Cooper. The Defendants also agreed to fund a $25,000.00

    expense retainer deposit for Cooper's anticipated expenses traveling from

    Sevier County, Tennessee to California to provide these marketing services.

          6.     In January 2019, Cooper requested the Defendants enter into a

    written contract defining the terms and conditions of the parties' agreement

    for all services. The Defendants, both individually and collectively, refused.

    Instead, Blum and Collins asked for Cooper to prepare a proposal letter

    outlining general terms and conditions of the parties' verbal agreements for

    marketing services only.




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          7.     On January 22, 2019, the parties executed a proposal letter for

    marketing services only requiring execution of "a written agreement within

    ninety (90) days to occur on or before March 30, 2019." The parties never

    executed any written agreement as required by the parties' proposal letter.

          8.     The Defendants funded Cooper's expense retainer deposit in

    the amount of $25,000.00 on or about January 22, 2019.

          9.     Cooper incurred expenses while providing marketing services

    requested, directed and supervised by the Defendants and their employees.

          10.    Cooper regularly engaged with Blum, Collins, Blum Collins'

    employees, Blum Collins' colleagues and business affiliates, and Blum

    Collins' clients and potential clients without interruption for seven months.

          11.    The Defendants, their business affiliates, their clients and their

    potential clients received claims consulting services, litigation consulting

    services, and exclusive marketing services from Cooper and his associates.

    The Defendants regularly engaged with Cooper during this time period,

    requested   assistance   from    Cooper,    and   directed,   supervised   and

    complimented Cooper's work.

          12.    To facilitate their scheme, Blum and Collins, acting for and on

    behalf of themselves, as individuals, and for and on behalf of Blum Collins,

    conspired together to defraud Cooper from payment for any services the



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    Defendants received and from reimbursement for expenses Cooper incurred

    for or on behalf of the Defendants and each of them, while reaping monetary

    benefits for themselves from the services provided and from the expenses

    incurred by Cooper on the Defendants', their clients', and their prospective

    clients' behalf.

           13.   In June 2019, after Cooper executed a directive given to him by

    Blum and Collins, the Defendants suddenly ceased all communications with

    Cooper for all services, leaving Cooper's requests for further directions and

    requisite cooperation with the Defendants unanswered, and altogether

    abandoning the Defendants' relationship with Cooper.           Blum Collins'

    employee would later inform Cooper that after Cooper executed Blum's and

    Collins' directive to contact The Honorable Judge William F. Highberger

    ("Judge Highberger"), the Defendants chose to "distance themselves" from

    Cooper and utterly ceased all direct contact and communications with him.

           14.    On August 1, 2019, with the Defendants still remaining silent,

    Cooper concluded all services offered for or on behalf of the Defendants.

    During the parties' engagement, Cooper provided more than 1,094 hours of

    professional services to the Defendants, their employees, their business

    affiliates, their clients and their potential clients, and incurred $766,080.00

    of invoices for professional services rendered and $27,522.60 of expenses



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     incurred.

           15.    On August 30, 2019, Cooper transmitted Acuity's invoice,

     service statement, expense statement, and expense itemization report

     (collectively, "Invoice") to the Defendants.             Cooper's Invoice totaled

     $768,602.60. 1 The Defendants offered no response and no payment.

           16.    Nearly five months later, on January 25, 2020, Cooper again

    transmitted his Invoice to the Defendants for payment of Cooper's services

     and expenses. Again, the Defendants gave no response and no payment.

           17.    The Defendants have paid nothing for Cooper's service fees or

     expenses for claims consulting services.

           18.    The Defendants have paid nothing for Cooper's service fees or

     expenses for litigation consulting services.

           19.    The Defendants have paid nothing for Cooper's service fees or

     expenses for marketing services.

           20.    In November 2020, the Defendants transmitted a letter to

     Cooper and acknowledged owing Cooper $3,672.00 for marketing services

     received, but still made no payment to Cooper.


     1     Cooper's Invoice incorporated all fees and expenses for each of three categories
           of services provided: claims consulting, litigation consulting, and marketing.
           Cooper's expenses were reduced by Blum Collins' expense retainer deposit
           of $25,000.00 Cooper received for marketing expenses.




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             21.   The Defendants received monetary and other benefits from

    services provided by Cooper, but have altogether failed to remit any

    compensation to Cooper for services provided or expenses Cooper incurred.

             22.   The Defendants have falsely maintained that Cooper never

    actually provided any services or incurred any expenses for the Defendants,

    their clients or their potential clients and, therefore, is not entitled to any

    compensation or expense reimbursement claimed due.          Cooper's 61-page

    Invoice detailing services provided and expenses incurred for the Defendants

    defies the Defendants' false beliefs.

             23.   Cooper's agreement with Blum and Collins was a valid and

    enforceable contract. Cooper performed his part of the agreement, and the

    Defendants received and continue to receive substantial monetary benefit

    from Cooper's services. After receiving Cooper's services, the Defendants

    failed to perform their end of the bargain, materially breaching their

    agreement with Cooper by failing to remit payment for Cooper's services

    and expenses, much less the $3,672.00 acknowledged by the Defendants in

    their November 2020 letter. By the Defendants' breach of the agreement,

    Cooper has suffered damages, the amount of which will be determined at

    trial.




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                     II.    JUSRISDICTION AND VENUE

          24.    This Court has subject matter jurisdiction of this action

    pursuant to 28 U.S.C. § 1332, because the matter in controversy exceeds

    $75,000.00, exclusive of interest and costs, and is between citizens of two

    different states. Plaintiff Cooper is a citizen and resident of Sevier County,

    Tennessee.    Defendant Blum Collins is a limited liability partnership

    organized under the laws and regulations of the state of California.

    Defendant Blum is a citizen and resident of Los Angeles County,

    California. Defendant Collins is a citizen and resident of Los Angeles

    County, California.

          25.    Venue is proper in this Court because Plaintiff Cooper resides

    in Sevier County, Tennessee, the agreement breached by the Defendants

    was made and entered into in Sevier County, Tennessee, and the Plaintiffs'

    damages occurred in Sevier County, Tennessee.

                                  III.   PARTIES

          26.    Plaintiff, Erik Cooper, is a citizen and resident of Sevier

    County, Tennessee, residing in the city of Gatlinburg.

          27.    Defendant,     Blum     Collins,   LLP      ("Blum     Collins"),

    headquartered in Los Angeles, California, is a boutique law firm litigating

    large, high profile real estate, business and serious personal injury cases



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     in California. 2 Blum Collins operates as a limited liability partnership

     under the laws and regulations of the state of California. Blum Collins

     may be served through its Registered Agent, Craig Michael Collins,

     at 707 Wilshire Boulevard, Suite 4880, Los Angeles, California, 90017. 3

           28.    Defendant Steven Aaron Blum ("Blum") is a citizen and

     resident of Los Angeles, California. Blum is an attorney licensed by the

     State Bar of California.         Blum is a partner in Blum Collins, LLP.

     Blum may be served at 707 Wilshire Boulevard, Suite 4880, Los Angeles,

     California, 9001 7.

           29.    Defendant Craig Michael Collins ("Collins") is a citizen and

     resident of Los Angeles, California. Collins is an attorney licensed by the

     State Bar of California. Collins is a partner in Blum Collins, LLP. Collins

     may be served at 707 Wilshire Boulevard, Suite 4880, Los Angeles,

     California, 9001 7.



     2     Source: https://www.blumcollins.com;https://www.blumcollins.com/practice

     3     For the purposes of this Complaint, "Blum Collins" means Blum Collins, LLP,
           a limited liability partnership under the laws of the state of California, and Blum
           Collins Ho, LLP, a limited liability partnership under the laws of California.




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                         IV.    FACTUAL ALLEGATIONS

           30.    On or about November 8, 2018, the Woolsey Fire destroyed

     96,949 acres of Los Angeles and Ventura counties in California,

     killed three, triggered the evacuation of more than 295,000 people,4

     and caused billions of dollars in economic damages ("Woolsey Fire").

     At least 1,600 houses and businesses were damaged or destroyed by fire,

     including the residences of celebrities Denise Richards, Robin Thicke,

     Kim Basinger, Miley Cyrus, Liam Hemsworth, Neil Young and others.

     Lawyers for Woolsey Fire victims filed civil litigation seeking recovery

     for their clients' damages.

           31.    On or about November 19, 2018, Blum Collins, on behalf of

     their clients, commenced a class action lawsuit in the Superior Court of

     California for the County of Los Angeles styled Rudolph Saldamando,

     D.D.S., et. al. v. Southern California Edison Company, et. al., case number

      18STCV05485, alleging inverse condemnation, public nuisance, private

     nuisance, trespass, violation of public utilities code section 2106, violation

     of health & safety code section 13007, negligence, negligent interference

     with prospective economic advantage, and premises liability.




     4     Source: https://en. wikipedia.org/wiki/Woolsey_Fire


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              32.   In December 2018, Cooper was introduced to Blum and Collins

      by a mutual contact employed by WorldClaim, a public claim adjusting firm.

      Cooper, the collective Defendants, and the WorldClaim representative

      discussed a potential affiliation of the parties to collaborate together for the

      mutual benefit of each respective party.

              33.   Blum and Collins represented to Cooper that they had authority

      to contract with Cooper on Blum Collins' behalf.

              34.   The Defendants expressed to Cooper their interest in hiring

      Cooper to provide claims consulting and litigation consulting services

      for the Defendants, their affiliated business partners, and their clients.

              35.   In late-December 2018, Cooper reached an agreement with

      Blum and Collins to provide claims consulting and litigation consulting

      services for the Defendants, their business affiliates, and their clients. Blum,

      Collins, and Cooper agreed verbally by telephone that Cooper would receive

      $700.00 per hour for these services, billed in increments of one-tenth of each

      hour.     Blum, Collins and Cooper agreed that the Defendants would

      reimburse Cooper for his expenses incurred while conducting business for

      or on behalf of the Defendants, their business affiliates and their clients.

      Blum, Collins and Cooper agreed that Cooper would maintain time

      calculations and descriptions of his work performed and expenses incurred,



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     and submit Cooper's Invoice to Blum Collins upon conclusion of Cooper's

     services.

           36.    Cooper began providing claims consulting services for the

     collective Defendants in January 2019 under the parties' verbal agreement.

     Cooper investigated the Defendants' property losses as assigned to Cooper

     by the Defendants and their employees, participated in meetings with the

     Defendants' business partners (e.g., WorldClaim), itemized and valued the

     Defendants' clients' structural and personal property contents damages,

     advised the Defendants and their clients' on claim reporting, damage

     calculations, insurable losses, policy analysis, and settlement negotiations,

     and assisted the Defendants and their clients in various claims matters.

           37.    Cooper began providing litigation consulting services for the

     collective Defendants in January 2019 under the parties' verbal agreement.

     Cooper regularly met by telephone and in-person with the Defendants,

     their employees, business colleagues and affiliates, investigated the source

     of the Woolsey Fire catastrophe to identify causation, identified potential

     defendants liable for causation of the Woolsey Fire, developed litigation

     strategies in consultation with Blum, Collins, and Blum Collins' employees,

     colleagues and affiliates, aided the Defendants in their competition with

     other lawyers and law firms for appointment by the court as "lead counsel"



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      in the Woolsey Fire Mass Tort Litigation matter, and assisted the Defendants

      and their employees, colleagues and affiliates in various litigation matters.

            38.    Blum and Collins expressed to Cooper the Defendants' urgency

     to solicit Woolsey Fire victims as potential new clients for the Defendants.

     Blum and Collins alleged other lawyers and law firms were expeditiously

      acquiring Woolsey Fire victims as clients and actively competing for

      appointment by the court as "lead counsel" in the coordinated Woolsey Fire

     Mass Tort Litigation matter filed in the Los Angeles County Superior Court

     under case number JCCP 5000 and assigned to Judge William F. Highberger

     ("Judge Highberger"). Blum and Collins told Cooper that such appointment

      as "lead counsel" would afford the Defendants greater authority over

      orchestration of the Woolsey Fire litigation and greater compensation for

     the Defendants.

            39.    Blum and Collins asked Cooper to add a third category of

      services for the Defendants: marketing. Blum and Collins asked Cooper to

      market the Defendants to Woolsey Fire victims as potential clients. Blum

      and Collins requested Cooper provide the Defendants exclusive marketing

      services including, without limitation, Cooper coordinating and conducting

      numerous claim workshop events in Los Angeles and Ventura counties for

      Woolsey Fire victims, with Blum, Collins, and Blum Collins employees,



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     individually and collectively, in attendance at those engagements and

     with the intent for the Defendants to solicit and engage attendees to become

     the Defendants' clients.

           40.   Blum, Collins, and Cooper agreed verbally by telephone that

     Cooper would receive the same $700.00 per hour for his marketing services,

     however, Cooper agreed to defer collection of any payment due Cooper until

     successful conclusion of Blum Collins' clients' legal cases, and to limit

     Cooper's compensation for marketing services to ten percent (10%) of the

     Defendants' attorneys' fees. Blum, Collins, and Cooper agreed that Cooper

     would maintain time calculations and descriptions of his work performed

     and expenses incurred, and submit Cooper's invoice to Blum Collins upon

     conclusion of Cooper's services. Blum, Collins and Cooper agreed that

     Cooper would be reimbursed for his expenses incurred providing these

     services for and on behalf of Blum Collins, its clients and prospective

     clients. Blum Collins provided Cooper an expense retainer deposit in the

      amount of $25,000.00 as an advance to compensate Cooper's anticipated

     expenses.

           41.    Cooper began providing marketing services for the collective

     Defendants in January 2019 under the parties' verbal agreement. Cooper

      attended numerous community workshops, meetings and other public



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     gatherings in California of Woolsey Fire victims to solicit potential clients

      for the Defendants. Cooper sourced and proposed advertising opportunities

     for the Defendants, researched, investigated and wrote eight stories for the

     Defendants' benefit with each published in The Local Malibu, searched for

     venues to host claim workshop events for Woolsey Fire victims, attended

     numerous meetings with Blum, Collins, and with Blum Collins employees,

     colleagues, business affiliates and clients in Blum Collins' offices, libraries,

     bars, dining establishments, and other venues.

           42.    Blum and Collins requested, directed and supervised all

     services provided by Cooper.

           43.    Cooper provided the majority of services for the Defendants

      from Sevier County, Tennessee.       Cooper also provided services for the

     Defendants within Blum Collins' Los Angeles, California office and

     at Blum Collins' client residences and business offices located in Malibu and

     Calabasas, California.

           44.    On or about January 19, 2019, Cooper transmitted a proposal

     letter to Blum and Collins to codify the partial terms and conditions of the

     parties' verbal agreement for marketing services only. Blum and Collins

      revised the proposed terms and conditions of Cooper's proposal letter and

     demanded inclusion of specific language drafted by Blum and Collins.



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     The Defendants executed the revised proposal letter containing the language

     demanded by the Defendants. The proposal letter, in part, required execution

     of "a written agreement within ninety (90) days to occur on or before

     March 30, 2019". The parties never entered into any written agreement.

           45.   The Defendants never intended to codify the parties' verbal

     agreement in writing. The Defendants intended to defraud Cooper of any

     compensation or expense reimbursement due for Cooper's services provided

     for, on behalf of and at the request, under the direction and supervision of

     the Defendants.

           46.   Upon reliance of the parties' agreement, Cooper provided

     services for the Defendants without interruption for seven months.

           47.   In January 2019, Blum and Collins introduced Cooper to Blum

     Collins' employee, attorney John Torbett ("Mr. Torbett"). Blum and Collins

     directed Cooper to work with Mr. Torbett in Blum Collins' Woolsey Fire

     matters. Cooper collaborated with Mr. Torbett regularly during the parties'

     seven month engagement, evidenced by hundreds of documented telephone

     calls, text and email messages, business meetings, client meetings and other

     records maintained by Cooper.

           48.   In January 2019, Cooper coordinated and attended a dinner

     meeting with celebrity Denise Richards ("Ms. Richards") and Richards'



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     husband, Aaron Cameron Phypers ("Mr. Phypers"), in Malibu, California for

     the purposes of introducing Blum, Collins, and Mr. Torbett to Ms. Richards

     and Mr. Phypers. This introduction led to Ms. Richards and Mr. Phypers

     hiring Blum Collins to provide legal services for Ms. Richards' and

     Mr. Phypers' Woolsey Fire losses.           Independently, Ms. Richards and

     Mr. Phypers also employed the Defendants to provide legal representation

     for Ms. Richards and Mr. Phypers in two independent landlord dispute

     matters involving Ms. Richards' and Mr. Phypers' two rented properties in

     Malibu ("Malibu Landlord Dispute") and Calabasas ("Calabasas Landlord

     Dispute"), California, respectively.    Cooper was solely responsible for

     introducing the Defendants to Ms. Richards and Mr. Phypers, resulting in

     the Defendants receiving economic and celebrity endorsement benefit from

     their affiliation with Ms. Richards and Mr. Phypers.

           49.   The Defendants received compensation from Ms. Richards and

     Mr. Phypers for the Malibu Landlord Dispute and Calabasas Landlord

     Dispute matters. Collins and Blum Collins have each acknowledged that

     Cooper is entitled to compensation for Cooper's services, but Blum Collins

     offered Cooper only $3,672.00 for his marketing services. Defendants have

     paid Cooper nothing for services provided at the Defendants' requests and

     under the Defendants' direction and supervision, or for Cooper's expenses



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     incurred in Ms. Richards' and Mr. Phypers' Malibu Landlord Dispute and

     Calabasas Landlord Dispute civil matters.

           50.   Cooper met with political leaders and business representatives

     in California and in Sevier County, Tennessee at the request and under the

     direction and supervision of Blum, Collins, and by extension, Mr. Torbett

     for Blum Collins, to provide marketing services for the Defendants.

           51.   Cooper was directed by the Defendants to aide and assist each

     assigned client of Blum Collins with the preparation of the client's insurance

     and legal claims, to aide and assist Blum Collins' clients in preparing,

     reporting, managing and resolving their insured losses including, without

     limitation, introducing Blum Collins' clients to public claims adjusting firms

     (e.g., WorldClaim), to prepare Blum Collins' clients' loss statements to

     quantify damages incurred for pursuit in civil litigation by the Defendants

     for their clients, and to offer the Defendants additional claims consulting,

     litigation consulting and other services, as requested, to aide and assist the

     Defendants' business interests related to the Woolsey Fire catastrophe.

           52.    During Cooper's engagement with the Defendants, Cooper

     delivered claims consulting, litigation consulting, and exclusive marketing

     services to the Defendants by and through Cooper's introductions of the

     Defendants to potential clients affected by the Woolsey Fire catastrophe,



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     and to political leaders including, without limitation, Malibu mayor-elect

     pro tempore Bruce Silverstein.

            53.   Cooper's services were provided at the direction, instruction

     and guidance of Blum, Collins, and Mr. Torbett for Blum Collins.

            54.   Cooper is a published writer. At Blum's and Collins' request,

     Cooper provided services for the Defendants as a writer creating stories for

     publication in The Local Malibu to source clients for Blum Collins. Cooper

     investigated and researched eight stories, wrote seven stories, and The Local

     Malibu published six stories in 2019.        Cooper's stories were requested,

     orchestrated and directed by Blum, Collins, and Mr. Torbett for Blum

      Collins, with Blum offering content, notes and his own previously-published

     writings for Cooper's solicitation for publication, and with Blum, Collins

      and Mr. Torbett each complimenting Cooper's published works. Cooper

      received no compensation or benefit for investigating, researching or writing

     these stories for the Defendants.

            55.   Cooper's services provided for and on behalf of the Defendants

      are detailed in Cooper's 61-page Invoice.

            56.   In July 2019, Mr. Torbett advised Cooper of his intent to leave

      his employment with Blum Collins, citing frustration with Blum and Collins,

      individually, Blum's and Collins' breach of their agreement with



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     Mr. Torbett, a lack of direction and execution of decisions by Blum and

     Collins, individually, and a storage closet assigned to Mr. Torbett as an

     office by Blum and Collins within the Blum Collins boutique law firm.

           57.    On August 1, 2019, Cooper voluntarily terminated all services

     provided for or on behalf of the Defendants, their employees, their

     colleagues and business affiliates, and their clients due to the Defendants'

     individual and collective abandonment of all communications with Cooper

     following Cooper's execution of contact with the court (Judge Highberger)

     as directed by Blum and Collins, respectively.

           58.   In August 2019, Cooper attended a business dinner meeting

     with Mr. Torbett in Santa Monica, California and learned from Mr. Torbett

     that Blum and Collins did not intend to pay Cooper for his services or his

     expenses incurred, citing concern for "fallout" resulting from Cooper's

     contact with the court (Judge Highberger) by request and at the direction of

     Blum and Collins, individually and collectively, to affect the court's

     decision in appointing lead counsel in the Woolsey Fire Mass Tort Litigation

     matter consolidated in the Los Angeles County (California) Superior Court

     under case number JCCP 5000 by seeking to disqualify competitive law firm

     Quinn Emanuel and advancing Blum Collins' candidacy for appointment as

     lead counsel themselves.



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           59.    On August 31, 2019, with still no response received from the

     Defendants, Cooper transmitted to the Defendants his notice of termination

     by letter correspondence. Cooper transmitted therewith copy of Cooper's

     Invoice for payment of Cooper's services and expenses in the amount of

     $768,602.60.

           60.    For months thereafter, Cooper received no communication or

     payment from the Defendants for services provided or expenses incurred.

           61.    On January 25, 2020, Cooper transmitted email correspondence

     and a second copy of the Invoice to the Defendants for payment, with a copy

     of the Invoice also transmitted to the Defendants via U.S. Postal Service first

     class mail. Cooper again received no response.

           62.    On or about October 19, 2020, following more than one year

      of total silence from the Defendants in response to Cooper's notice of

     termination and Invoice, Cooper filed a notice of lien in Blum Collins'

     Saldamando case.

            63.   After receiving copy of Cooper's Saldamando lien notice,

      Collins and Blum Collins contacted Cooper by letter dated November 20,

      2020 and, for the very first time, the Defendants responded to Cooper's

      Invoice transmitted to the Defendants more than one year earlier

      ("Defendants' Letter").      Defendants' Letter alleged an "apparent



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     misunderstanding" and offered Cooper $3,672.00 as compensation due

     Cooper for Cooper's services provided for the Ms. Richards' and

     Mr. Phypers' collective civil litigation matters. The Defendants' Letter

     also advised Cooper of Blum Collins' intent to initiate arbitration of the

     parties' dispute.

           64.    In the Fall of 2020, Mr. Torbett advised Cooper that the

     Defendants had also cheated Mr. Torbett of compensation he was due

     under his agreement with the Defendants.

           65.    The Defendants, it seems, have a pattern of not paymg

     obligations due their employees, vendors, partners, and other service

     providers.   The Defendants also seem to have an issue with honesty,

     transparency and truthfulness.       In 2014, Defendant Blum Collins was

     found liable for its own professional negligence in a legal malpractice

     lawsuit and left without $7 million of insurance coverage due to Defendant

     Blum Collins' "material misrepresentation in its [insurance] policy

     application", as the federal court concluded. 5

           66.    In November 2020, Blum Collins initiated arbitration of its

     dispute with Cooper, demanding repayment of Blum Collins' $25,000.00


     5     Blum Collins, LLP, et. al. v. NCG Professional Risks, Ltd, et. al., No. 2:12-cv
           08996 (C.D. Cal, July 31, 2014). See, also, https://www.lexology.com/library/
           detail.aspx?g=2aadf7b6-f888-441a-baa7-677ddd8307ed



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     expense retainer deposit issued to Acuity in January 2019. Blum Collins

     filed its demand for arbitration with the American Arbitration Association,

     naming Erik Cooper as an individual, and Cooper's business, Acuity

     Consulting Services ("Acuity").          On Cooper's motion, the arbitrator

     dismissed Cooper from the arbitration.             In December, the arbitrator

     awarded Blum Collins $33,831.25 for Acuity's return of Blum Collins'

     $25,000.00 expense retainer deposit, and $8,831.25 for the arbitrator's fee.

     The parties did not arbitrate Cooper's Invoice.

           67.    The Defendants, and each of them, requested, supervised,

     directed, orchestrated, instructed, and governed all services provided by

     Cooper during the parties' business together including, without limitation,

     Cooper's contact with Judge Highberger as a writer for The Local Malibu

     as requested, directed and orchestrated by Blum and Collins, Cooper's

     work with the Defendants' colleagues and business affiliates, Cooper's

     work with social media groups and political figures including W orldClaim

     and Bruce Silverstein's 6 Facebook social media group, Cooper's client

     sourcing and marketing efforts for benefit of the Defendants, and Cooper's

     activities provided for and on behalf of Blum Collins.


     6     Bruce Silverstein was not an elected official in 2019. Bruce Silverstein was
           a private citizen and community organizer of Woolsey Fire victims in 2019.




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           68.    Blum, Collins, and Blum Collins' employees John Torbett,

     Gary Ho, and various paralegals, as well as Blum Collins' affiliated

     colleague, attorney Timothy R. Lee, requested Cooper's claims consulting

     expertise in handling their clients' catastrophic property loss claims, relied

     upon Cooper's unique knowledge of mass tort litigation involving wildfire

     catastrophes, and solicited Cooper's assistance with the Defendants'

     marketing efforts.

           69.    All services were documented in Cooper's Invoice recording

     numerous meetings and events Cooper organized and attended, and

     numerous telephone, text and email communications exchanged between

     the Defendants, their employees, agents and representatives and Cooper.

           70.    Upon information and belief, Blum Collins has settled some

     of its clients' legal cases.   The Defendants have failed to remit any

     compensation due Cooper for his professional services rendered or

     expenses incurred for and on behalf of the Defendants.

           71.    The Defendants and each of them intentionally sabotaged

     their business relationship with Cooper by and through their actions

     involving Judge Highberger, among other actions and inactions of the

     Defendants. The Defendants manipulated Cooper to act as their agent in

     violation of the Rules of the California State Bar and offense to the court.



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            72.    In their scheme, the Defendants and each of them conspired to

      defraud Cooper of any remuneration for his services rendered or expenses

      incurred for work Cooper performed for or on behalf of the Defendants,

      their colleagues and business affiliates, their clients and potential clients.

            73.    The Defendants, and each of them, abandoned their business

      relationship with Cooper by ceasing all communications with Cooper and

      by breaching their duties and obligations owed to Cooper (e.g., scheduling

      claim workshop meeting events). This abandonment, cessation and breach

      caused Cooper to suffer economic damages.

            74.    Neither Blum, Collins nor Blum Collins have abided by the

      terms of their agreement with Cooper, and have, upon information and

      belief, unlawfully deprived Cooper of compensation Cooper is due for his

      services provided and expenses incurred.

                             V.     CLAIMS FOR RELIEF

                                      COUNT ONE

                              BREACH OF CONTRACT

            75.    Plaintiff repeats, as if stated verbatim, each of the foregoing

      allegations with the same force and effect as if fully set forth herein.




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            76.   To facilitate their arrangement for claims consulting, litigation

      consulting and marketing services, Blum and Collins, individually and

      acting on behalf of Blum Collins, made the following promises to Cooper:

            •     Cooper would provide claims consulting services for Blum,
                  Collins, and Blum Collins, for the Defendants' colleagues
                  and business affiliates, and for the Defendants' clients and
                  prospective clients;

            •     Cooper would provide litigation consulting services for Blum,
                  Collins, Blum Collins, and for the Defendants' colleagues
                  and business affiliates, with reliance upon Cooper's unique
                  expertise with catastrophic property and casualty claim losses
                  and mass tort civil actions involving wildfire catastrophes;

            •     Cooper would provide exclusive marketing services for Blum,
                  Collins, and Blum Collins to obtain new clients and increase
                  Blum Collins' number of plaintiffs in the Woolsey Fire
                  Mass Tort Litigation allowing Blum Collins to compete
                  for selection by Judge Highberger as "lead counsel" with
                  a competitively large number of plaintiffs represented;

            •     Cooper would provide other additional services as the request
                  of Blum, Collins, and the employees, agents, colleagues and
                  business affiliates of Blum Collins, including, attorney
                  Timothy R. Lee, WorldClaim, and others;

            •     Cooper would receive compensation in the amount of $700.00
                  per hour, billed in increments of one-tenth of each hour,
                  for all services provided to Blum, Collins, Blum Collins,
                  and their colleagues, associates, clients and potential clients;

            •     Cooper would receive reimbursement of all expenses incurred
                  for or on behalf of Blum, Collins, Blum Collins, and their
                  colleagues, associates, clients and potential clients during
                  the course of the parties' engagement;




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             •     Cooper would defer payment for marketing services only
                   until receipt of settlement or judgment funds by Blum Collins;

             •     Cooper's compensation for marketing services would not
                   exceed ten percent ( 10%) of attorneys' fees received by
                   Blum, Collins, or Blum Collins.

             77.   The parties entered into a mutually beneficial agreement.

      Cooper is entitled to compensation for his time at an hourly rate of

      $700.00 per hour for all professional services rendered, and reimbursement

      of all expenses Cooper incurred for or on behalf of Blum, Collins, Blum

      Collins, their employees, colleagues, business affiliates, clients or potential

      clients.

             78.   Construing the agreement as a whole, along with the parties'

      course of dealing over the seven-month engagement, the purpose of

      Cooper's agreement with the Defendants and the Defendants' funding of

      Cooper's expense retainer deposit was to provide specified responsibilities

      and benefits to Cooper and the Defendants.

             79.   Cooper fully performed, in all respects, his obligations under

      the agreement.

             80.   The Defendants, and each of them, have materially breached

      the agreement by, among other things, (a) failing to respond to Cooper's

      multiple requests for Blum's, Collins', and Blum Collins' individual

      availability for community claim workshop meeting events, (b) failing to


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     respond to Cooper's multiple requests for Blum's, Collins', and Blum

     Collins' funding of deposits required to reserve venues to host various

     community claim workshop events, (c) failing to remit expense

     reimbursement due Cooper as required, and (d) failing to remit

     compensation due Cooper when due.

           81.    Instead, Blum, Collins, and Blum Collins ignored Cooper's

     communications requiring collaboration among the parties, abandoned the

     parties' duties and obligations owed Cooper, and have failed to pay

     Cooper's Invoice since August 31, 2019.

           82.    Blum, Collins, and Blum Collins have failed or otherwise

     refused to provide a justifiable reason for their failure to live up to their

     contractual obligations.

           83.    Cooper has suffered damages resulting from the breach,

     as well as pre-judgment and post-judgment interest.

           84.    Pursuant to the parties' agreement, Plaintiff is entitled to

     payment of $768,602.60.

           85.    Cooper demands judgment against Blum, Collins, and Blum

     Collins for damages, interest, and costs of suit.




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                                     COUNT TWO

         BREACH OF IMPLIED GOOD FAITH AND FAIR DEALING

            86.    Plaintiff repeats, as if stated verbatim, each of the foregoing

     allegations with the same force and effect as if fully set forth herein.

            87.    Under Tennessee law, Blum, Collins, and Blum Collins were

     required to act in good faith and deal fairly with Cooper, including abiding

     by the terms of their agreement and ensuring that Cooper would be

     compensated in accordance with their terms for the agreed upon

     compensation and expense reimbursement.

            88.    The purpose of the implied covenant of good faith and fair

      dealing is to protect the parties' reasonable expectations and the covenant

     requires the parties to perform under the contract of good faith.

            89.    Cooper at all times complied with his contractual obligations

      and acted in good faith in relation thereto.

            90.    Blum, Collins, and Blum Collins acted in bad faith when they

     began making efforts to repudiate the agreement and failed to compensate

      Cooper's professional fees or expenses.

            91.    Blum, Collins, and Blum Collins acted in bad faith when they

      acknowledged $3,672.00 was due Cooper for his professional services in

      the Malibu Landlord Dispute and Calabasas Landlord Dispute civil



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     matters, but failed to compensate Cooper.

           92.    Blum, Collins, and Blum Collins unfairly interfered with

     Cooper's reasonable expectation that Cooper would receive compensation

     due for his professional services and reimbursement for his expenses

     incurred for and on behalf of Blum, Collins, Blum Collins and their clients

     and prospective clients.

           93.    The conduct of Blum, Collins, and Blum Collins is contrary to

     the reasonable expectations of Cooper under the parties' agreement.

           94.    By reason of Blum's, Collins', and Blum Collins' breach of

     the implied covenant of good faith and fair dealing, Cooper has suffered

     damages in an amount to be determined at trial.

                                   COUNT THREE

                                UNJUST ENRICHMENT

           95.    Plaintiff repeats, as if stated verbatim, each of the foregoing

     allegations with the same force and effect as if fully set forth herein.

           96.    Blum, Collins, and Blum Collins benefitted from their

     wrongful acts as alleged herein and it would be inequitable for them to be

     permitted to retain the benefit of Cooper's services, at Cooper's expense,

     without obligation to compensate Cooper for his professional services

     provided and expenses incurred.



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            97.   Cooper has exhausted any available administrative remedies.

            98.   By reason of Blum's, Collins', and Blum Collins' failure to

     compensate Cooper for his professional services received and expenses

     incurred, the Defendants and each of them have been unjustly enriched.

            99.   As a result of Blum's, Collins', and Blum Collins' conduct,

     as alleged herein, the Defendants and each of them should each make full

     restitution to Cooper in an amount to be determined at trial.

                                    COUNT FOUR

                                QUANTUM MERUIT

            100. Plaintiff repeats, as if stated verbatim, each of the foregoing

     allegations with the same force and effect as if fully set forth herein.

            101. Under Tennessee law, an award for quantum meruit must be

     based on the reasonable value of the services based on the "customs and

     practices prevailing" in the kind of business involved.

            102. From January 1, 2019 until August 1, 2019, Cooper expended

      1,094 hours of time fulfilling his obligations to the Defendants and each of

     them. Cooper also incurred $27,522.60 of expenses for and on behalf of

     Blum, Collins, and Blum Collins, reduced by Blum Collins' expense

     retainer deposit of $25,000.00, leaving a balance of $2,522.60 due Cooper.




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            103. The Woolsey Fire mass tort civil litigation matter is a

      complex litigation matter, requiring Cooper's unique expertise handling

      catastrophic wildfire events and qualified risk management and insurance

      experience. Cooper is a court-qualified expert in risk management and

      insurance with more than thirty years of experience. Cooper has firsthand

      experience investigating and offering litigation consulting services in other

      wildfire mass tort civil actions at a similar hourly rate. Cooper brought his

      unique skill set requisite to perform the necessary professional services for

      Blum, Collins, Blum Collins, and their clients.

            104. Cooper's engagement and responsibilities precluded him from

      accepting and/or working on other cases at various points during the

      parties' engagement.

            105. Cooper's customary and historical hourly rate for clients

      during the engagement period was $675.00 per hour. Upon information

      and belief, these rates were customarily charged in the locality for similar

      services in complex litigation cases.

            106. The settlements received by the clients of Blum Collins, and,

      by extension, the individual partner's compensation received Blum and

      Collins, respectively, through their partnership in Blum Collins, LLP,

      were excellent results.



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           107. Cooper       accepted    the    Defendants'   marketing     services

     engagement on a contingency fee basis, with no guarantee that he would

     ever recover any fee sufficient to repay Cooper for his time and efforts

     expended or recover out-of-pocket expenses Cooper advanced on Blum's,

     Collins', and Blum Collins' behalves.

           108. Cooper demands judgment against Blum, Collins, and Blum

     Collins, for damages, interest and costs of suit in an amount to be

     determined at trial.

                                    COUNT FIVE

                                   CONVERSION

           109. Plaintiff repeats, as if stated verbatim, each of the foregoing

     allegations with the same force and effect as if fully set forth herein.

           110. Blum, Collins, and Blum Collins devised a scheme to

     appropriate compensation and expense reimbursement due Cooper to their

     own use and benefit. For example, after months of receiving professional

     services from Cooper, numerous meetings and public engagements with

     Cooper, and delegating Cooper's collaboration with Blum, Collins, and

     Blum Collins, respectively, to Mr. Torbett for day-to-day work, Blum,

     Collins, and Blum Collins falsely represented that Cooper had never

     provided any services for Blum, Collins, or Blum Collins, flatly



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     contradicted by Cooper's extensive documentation, as well as the parties'

     course of dealings.

            111. Blum, Collins, and Blum Collins exercised dominion over

     Cooper's compensation and expense reimbursement and never remitted to

     Cooper any compensation or expense reimbursement agreed upon.

            112. Blum, Collins, and Blum Collins actively seek reimbursement

     from Cooper of Blum Collins' expense retainer deposit, in the amount of

     $25,000.00, alleging Cooper incurred no expenses for or on behalf of

     Blum, Collins, or Blum Collins, despite travel costs, meal expenses and

     other related expenditures known to Blum, Collins, and Mr. Torbett during

     each of their engagements with Cooper during the parties' seven-month

     relationship.

            113. Blum, Collins, and Blum Collins did all of this in direct

     defiance of Cooper's contractual rights to compensation for professional

     services rendered and his expenses incurred on the Defendants' behalf.

            114. By reason of Blum's, Collins', and Blum Collins' conversion

     of Cooper's compensation and expense reimbursement due, Cooper has

     suffered damages in an amount to be determined at trial.

            115. Cooper demands judgment against each of the Defendants,

     jointly and severally, for damages, interest and costs of suit.



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                                     COUNT SIX

                                CIVIL CONSPIRACY

           116. Plaintiff repeats, as if stated verbatim, each of the foregoing

     allegations with the same force and effect as if fully set forth herein.

           117. Blum, Collins, and Blum Collins conspired and acted m

     concert or pursuant to a common design to deprive Cooper of his rightful

     compensation and expense reimbursement due. Alternatively, each of the

     Defendants gave substantial assistance and encouragement to the other for

     that purpose.

           118. Defendants' common design -- to abandon Cooper in the

     middle of their business collaboration and to end all communications with

     Cooper while depriving him of compensation and expense reimbursement

     due -- was accomplished by their concerted action, including their false

     misrepresentations that Cooper had never provided any services or

     incurred any expenses for or on behalf of Blum, Collins, or Blum Collins.

            119. Defendants' actions were made for an unlawful purpose,

     or a lawful purpose by unlawful means, and resulted in substantial

     financial injury to Cooper.

            120. The Defendants, and each of them, aided and abetted each

     other Defendant in the breach of their agreement with Cooper, participated



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     in the conversion of Cooper's compensation and expense reimbursement

     for themselves, and participated in the inequitable conduct leading to

     Blum, Collins, and Blum Collins being unjustly enriched.

            121. By reason of the Defendants' civil conspiracy, Cooper has

     suffered damages in an amount to be determined at trial.

            122. Cooper demands judgment against each of the Defendants,

     jointly and severally, for damages, interest and costs of suit.

                           VI.    PRAYER FOR RELIEF

           A.      That Summons issue and the Defendants be required to

     answer, according to law.

           B.      That Plaintiff be awarded a judgment for damages against the

     Defendants in an amount to be determined at trial, plus pre-judgment and

     post-judgment interest.

           C.      That Plaintiff be awarded restitution for Defendants' unjust

     enrichment.

           D.      That Plaintiff be awarded costs and such other further relief as

     is necessary, just and proper.

                                 VII. JURY DEMAND

           Plaintiff demands a trial by jury of all issues so triable pursuant to

     Rule 38 of the Federal Rules of Civil Procedure.



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           Respectfully submitted on this 11th day of April, 2022.




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